,t~,,
^   B240A (Form B240A) (04/10)
                                                                                                                 FILED LiSBC NKIL TtjC
                                                                                                                 2917 MAY 15M11:U7

                                                                                    G::::umption of Undue Hardship
                                                                                         J' No Presumption of Undue Hardship
                                                                                    See Debtor 's Statement in Support of Rea/jirmation,
                                                                                    Part II below, to determine which box to check.




                                   United States Bankruptcy Court
                                                        District of Arizona

            jesus A Maldonado
    In re                                                                                            Case No. 4:17-bk-04540-shg
                                 Debtor
                                                                                                     Chapter 7



                                             REAFFIRMATION DOCUMENTS

                                 Name of Creditor: Cabrillo Credit Union

                       J' Check this box if Creditor is a Credit Union


    PART I. REAFFIRMATION AGREEMENT

    Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
    Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
    this form.

    A. Brief description of the original agreement being reaffirmed:2010 Kia Forte Koup Sx
                                                                                              For example, auto loan


    B. AMOUNTREAFFIRMED:                        $                             7,515.10

              The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
              unpaid principal, interest, and fees and costs (if any) arising on or before                                    3

              which is the date of the Disclosure Statement portion of this form (Part V).

              See the de/inition of "Amount Reaf'irmed" in Part Y Section C below.

    C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is                                     3.9000 %.
                                               .
              See definition of "Annual Percentage Rate " in Part V: Section C below.

              This is a (check one) J Fixed rate                           i Variable rate

    If the loan has a variable rate, the fUture interest rate may increase or decrease Rom the Annual Percentage Rate
    disclosed here.

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D. Reaffirmation Agreement Repayment Terms (check and complete one):

                   $             per month for             months starting on
                                                                                            .
          .I       Describe repayment tams, including whether future payment amount® may be different from
                   the initial payment amount.




E. Describe the collateral, if any, securing the debt:

                    Description:                      2010 Kia Forte Koup
                    Current Market Value              $
F. Did the debt that is being reaffirnied arise from the purchase of the collateral described above?

            I Yes. What was the purchase price for the collateral?                $

        LI No. What was the amount of the original loan?                           $

g. specifj' the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

                                           Terms as of the                  Terms After
                                           Date of Bankruptcy               Reaffirmation

          Balance due (including
          lees and Costs)                  $                                $
          Annual Percentage Rate                  3.9000 %                             %
          Monthly Payment                  $                                $
H.jj Check this box if the creditor is agreeing to provide you with additional future credit in connection with
       this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
       future credit and any other terms on hture purchases and advances using such credit:




PART II.            DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

          Check one. a Yes               a No

B. Is the creditor a credit union?

          Check one. WYes                      : No


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C. If your answer to EITHER question A. or B. above is "No," complete 1. and 2. below.

   l.    Your present monthly income and expenses are:

         a. Monthly income from all sources after payroll deductions
         (take-home pay plus any other income)                                         $

         b. Monthly expenses (including all reaffirmed debts except
         this one)                                                                     $
          c. Amount available to pay this reaffirmed debt (subtract b. from a.)        $

          d. Amount of monthly payment required for this reaffirmed debt               $

         j/ihe monthlypayment on this reaffirmed debt (7ine d.) is greater than the amountyou have available to
         pay this reaffirmed debt (7ine C.), you must check the box at the top ofpage one that says "Presumption
         of Undue HardshP. " Otherwise, you must check the box at the top ofpage one that says "No
         Presumption of Undue Hardship. "

   2.     You believe that this reaffirmation agreement will not impose an undue hardship on you or your
          dependents because:

          Check one of the two statements below, if applicable:

        LI          You can afford to make the payments on the reaffirmed debt because your monthly income is
                    greater than your monthly expenses even after you include in your expenses the monthly
                    payments on all debts you are reaffirming, including this one.

                    You can afford to make the payments on the reaffirmed debt even though your monthly income
                    is less than your monthly expenses after you include in your expenses the monthly payments on
                    all debts you are reaffirming, including this one, because:




             Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were "Yes," check the following
statement, if applicable:

        LJ          You believe this Reaffirmation Agreement is in your financial interest and you can afford to
                    make the payments on the reaffirmed debt.

Also, check the box at the top ofpage one that says "No Presumption of Undue Hardshjp."




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PART III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

I hereby certify that:

         (1)       I agree to reaffirm the debt described above.

         (2)       Before signing this Reaffi rmation Agreement, I read the terms disclosed in this Reaffirmation
                   Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V
                   below;

         (3)       The Debtor's Statement in Support of Reaffirmation Agreement (Part II above) is true and
                   complete;

          (4)      I am entering into this agreement voluntarily and am fully informed of my rights and
                   responsibilities; and

          (5)      I have received a copy of this completed and signed Reaffirmation Documents form.
SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):

Date                                   Signature
                                                                    Debtor
Date                                   Signature
                                                               Joint Debtor, Jany



Reaffirmation Agreement Terms Accepted by Creditor:

Creditor Cabrillo Credit Union                           10075 Carroll Canyon Rd, San Diego Ca 92131
                          Print Name                                      AAlress ".

           M.M.Simmons
                Print Name of Representative               p1"a:z                           im
PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)
            To bejiled only ifthe attorney represented the debtor during the course ofnegotiating this agreement.

I hereby certifj' that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement.
Qa presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to make the required payment.

Check box, jfthe presumption of undue hardshjp box is checked on page 1 and the creditor is not a Credit
Union.

Date                      Signature of Debtor's Attorney

                         Print Name of Debtor's Attorney



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PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reafhrm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A.         DISCLOSURE STATEMENT

      1.   What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
           obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
           you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
           your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
           which may have changed the terms of the original agreement. If you are reaffi rming an open end credit
  '        agreement, that agreement or applicable law may permit the creditor to change the terms of that
           agreement in the fiiture under certain conditions.

      2.   Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
           reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
           afford the payments that you agree to make.

      3.   What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
           any lien on your property. A "lien" is often referred to as a security interest, deed of trust, mortgage, or
           security deed. The property subject to a lien is oRen referred to as collateral. Even if you do not
           reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
           the lien to take the collateral if you do not pay or default on the debt. If the collateral is personal
           property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
           than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
           of the collateral, as the parties agree or the court determines.

      4.   How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
           a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
           into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
           you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
           no later than.60 days aher the first date set for the meeting of creditors, so that the court will have time
           to schedule a hearing to approve the agreement if approval is required. However, the court may extend
           the time for filing, even after the 60-day period has ended.

      5.   Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
           before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
           your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
           Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
           (or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
           you rescind within the time allowed.




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     6.   When will this Reaffirmation Agreement be effective?

          a. If you were represented by an attorney during the negotiation of your Reaffirmation
          Agreement and

                   i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
                   it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
                   Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
                   set a hearing to determine whether you have rebutted the presumption of undue hardship.

                   ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
                   is filed with the court.

          b. If you were not represented by an attorney during the negotiation of your Reaffirmation
          Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
          court approve your agreement, you must file a motion. See Instruction 5, below. The court will notifj'
          you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
          which time the judge will review your Reaffirmation Agreement. If the judge decides that the
          Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
          effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
          deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
          motion or get court approval of your Reaffirmation Agreement.

     7.   What if you have questions about what a creditor can do? If you have questions about reaffirming a
          debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
          do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
          you at the hearing to approve the Reaffi rmation Agreement. When this disclosure refers to what a
          creditor "may" do, it is not giving any creditor permission to do anything. The word "may" is used to
          tell you what might occur if the law permits the creditor to take the action.

B.        INSTRUCTIONS

     1.   Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
          review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
          case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

     2.   Complete the Debtor's Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
          you can afford to make the payments that you are agreeing to make and that you have received a copy of
          the Disclosure Statement and a completed and signed Reaffirmation Agreement.

     3.   If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
          attorney must sign and date the Certification By Debtor's Attorney (Part IV above).

     4.   You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
          completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 27).

     5.   Y'you are not represented by an attorney, you must also complete andjile with the court a sep:rate
          document entitled "Motionfor Court Approval ofReanirmation Agreement " unless your Real," irmation
          Agreement isfor a consumer debt secured by a lien on your realproper{y, such as your home. You can
          use Form B240B to do this.




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C.        DEFINITIONS

     I.   "Amount Reaffirmed" means the total amount of debt that you are agreeing to pay (reaffirm) by
          entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
          agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
          Reaffi rmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
          additional amounts that arise after the date of this disclosure. You should consult your credit agreement
          to detemine whether you are obligated to pay additional amounts that may arise after the date of this
          disclosure.

     2.   "Annual Percentage Rate" means the interest rate on a loan expressed under the rules required by
          federal law. The annual percentage rate (as opposed to the "stated interest rate") tells you the fUll cost
          of your credit including many of the creditor's fees and charges. You will find the annual percentage
          rate for your original agreement on the disclosure statement that was given to you when the loan papers
          were signed or on the monthly statements sent to you for an open end credit account such as a credit
          card.

     3.   "Credit Union" means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned
          and controlled by and provides financial services to its members and typically uses words like "Credit
          Union" or initials like "C.U." or "F.C.U." in its name.




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                                               ib CABRILLO                                                                                                       Statement of Account
                                                   "                 CREDIT UNION                                                                                Member Number XxxxxxX979
                              P.O. Box 261 169 · San Diego, CA.92196-1 169                                                                                        Statement For 03/01/2017 - 03/31/2017
                                                                                                                                                                          Page1 of 4

            RETURN SERVICE REQUESTED


            776005238                    1                            1/4                        UNQ               M-01-17 SO

           h1I|¶IlqIlrq|T|¶MlmjlI|hlII|||l|'l'lr||"llIl|n
            Jesus Maldonado
            1058 W Camino Fijo
            Sahuarita AZ 85629-8184




                                                                                                                                              .




    Cabrillo Credit Union's Annual Meeting will be hosted Wednesday, April 19, 2017 at 5:00 p.m. in our
  Board Room located at 10075 Carroll Canyon Road, Ste. 200, San Diego, CA 92131. Two members will be
   elected to the Board of Directors and one to the Supervisory Committee, all of which are 3-year terms.

 Your Account Balances as of 03j31                                                                                                                Your Loan Balances as of 03/31
 ID 00 Savings                                                                                                           $5.00                    ID 20 2010 Kia Forte Koup Sx 60 Mo                                                                 $7,829.72
 ID 80 Advantage Checking                                                                                             1,662.70                    ID 39 Payroll Advance Loan (Pal)                                                                        0.00
 Account Balance Total                                                                                               $1,667.70                    Loan Balance Total                                                                                 $7,829.72

                                                                                                                                                  Total Loan Interest Paid Year-To-Date                                                                    $81.48



  D0I                .              0                                                                                                                                                     Beginning Balance                                                  $5.00
                                                                                                                                                       .                                       0 Deposits for                                                 0.00
                                                                                                                                                                                            0 Withdrawals for                                                 0.00
                                                                                                                                                                                                 Ending Balance                                              $5.00


  D   "0    '0                ,         .0"
                                                        .
                                                                          0                                                                                                               Beginning Balance                                              $2,085.29
                                                                                                                                                                                                    3 Deposits for                                        4,694.70
                                                                                                                                                                                         73 Withdrawals for                                              -5,117.29
                                                                                                                                                                                                 Ending Balance                                          $1,662.70

Posting     Withdrawals                                  Deposib                                   Balance Transaction Description
03L01             23:02-.                              ',   "" - '                               '2;062.27 "Cdid "PurcbdW SAEEWAY FjjEL1771 Terminal ID: 1771006? SAHUE\RITA AZ                                                                              '." ' ,:

                 .       $
                                                                                                 '''        '       'Ref:01(j33140' 0103jl40            "'               -'       "'   ' " '"             "         . ,. .
                                                                                                                                                                                                                        >   '"        . .. ' '..              .   .
                                                                                                                                                                                                                                                                       I   3 .



03/02                             192.33-                                                         1,869.94 Withdrawal ACH LIBERTY MUTUAL PAYMENT MALDONADO JESUS A
03/92                             . 3.41-.                  '        .,            . . 1,866.53 · Krd purchase Circle K # 03443 :1690 Termjrial IU·030O NOGALES AZ                                                                                          j -' "i

                                                                                            .. ...   . ...' - 'Refi061003212039
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                                                                                                                                   . ,. . . . . .' '...
                                                                                                                                                     '" .' , ". >'
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03/02                             37.00-                                                      " 1,829.53 Check #3005 Tracer 74303378
03/02                    "-         8.64'"                       "                         ',     i,qz¢j.8g caidAlraaseAM"NON dig"iTAl SVO"SG-Terminai ID: OOO044O TERRY AYE N"""' ,
                                                                              - · ",              ·" ':'    866:216-1022 WA Ref:553'102070G1083Z33807140 5531020706108323.3807140 . - .' '
03/03                             21.17-       '                                                  1,799.72 Card purchase circlE K 00779 1990 N Terminal ID: 0003 GREEN VALLEY AZ
                                                                                                             Ref:062007138191 062007138191
03/(13                            " 6.29'- .            "            .                          '" 1,793.43 Gaid pinchase'aRcLE r 00779 1%0'N-Termih?|ID: 0100'GREEN VALLEY AZ
                                                                                                            "       Ref:062012147i03'" 0620i2i4zz03 "                                                     Z                                          ,
03/05                             44.96-                                                          1,748.47 Nthrawat Bill payment AMAZON.COM Terminal ID: 00000101 sEattle WA
                                                                                                            Ref:MCW56CjMFjFV MCW56CJMFJFV
03/06 "'                      , 81.00-.                                       -                 . 1,667.47 Card purchase a LAnE i/WO"TerminaiID: 78Z96S98 9SQ E RODE¢J RD CASA                                                                                         ,'
                                                                          r




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03/06                               4.31-                                                        ' 1,663.16 Card purchase Amazon Video On Demand Terminal ID: 239000 440 Terry Ave N
                                                                                                        AMZN.COM/bill WA Ref:55432867065000023946979 55432867065000023946979
03106                               5.39- .                                                '. 1,GS7.77 Card Ourchase AMt\ZON video on [jEMAN6Termina id: 0000 440 TERRY ave n .
                                                                                           '^'                  '. " 866,216-1072 JNA Ref:55310zQ7065Q83023807009 5521020706508302}807009'                                                                        ,",

03/06                             87.19-                                                          1,570.58 Card purchase Wal-Mart Super Center Terminal ID: 14110044 1411 WAL-SAMS
                                                                                                                    SAHUARITA AZ Ref:706553012125 706553012125
03/06                    ' 161.01- "                        .'                    ' '" . 1,409.57. W"ithdrawal Bill paymeht AmAzBn.com TerminQl ID: 00000101 SEATTLE WA                                                                                               ',

                                                                                                       -,           Ref:SUGAFHFZBL6D-'sUgAFHEzBL6D                   ·        .                                                                                   ,

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                                                        jbcABRILLo                                                                               Statement of Account
                                                      "   CREDIT UNION                                                                           Member Number xxxxxxx979
                                          P.O.Box 261169 0 San Diego, CA92196-1169                                                                Statement For 03/01/2017 - 03/31/2017
                                                                                                                                                         Page2 of 4




         D :O            '0               .       .0"           "                    0
                                                                                                                                                               Continued from previous page.
     Posting         Withdrawals                                Deposb                                  Balance Transaction Description
     03/07                 20.95-                                                                      1,388.62 Card purchase SUPERCUTS Terminal ID: 03702683 GREEN VALLEY AZ
                                                                                                                 Ref:030788015893 030788015893
     03/07                                    113.54-                    -               '-            1,275.08 Card purchaSe \Ma|-Mart Super Center Temiinal ID: 14110044 1411 WAL-SAMS
                                                                                                                 SAHUARITA AZ Ref:706614781856 706614781856
     03/07                    '                1a61-                                                   1,256.47 Card purchase JERRY BOBS TerminalID: 3716 1325 W DUVAL MINE RD#19 GREEN
                                                                                                                 VALLEY AZ Ref:55480777066206716700893 55480777066206716700893
     03/08                                     i8.Z5- -                                                 1,238.22 Card purchase SAFE\NAY fuel 1771 Terminai ID: 17710067.SAHUARITA AZ
                                                , .                                                                Ref:01034300 01034300"   '  .     -   " '
     03/09                                     14.28-                                                   1,223.94 Card purchase CITY SALADS GOURMET EX Terminal ID: 6821 120 W WHITE PARK"
                                                                                                                   OR NOGALES AZ Ref:55500367068091216000075 55500367068091216000075
     03/10           '                          2,15-                                    ·            " 1,221.79' Card purchase AniazOn Services-kindle Terminal Id: 362000 440 Terry"Ave N .

                                                                                                         . ,.  . 866-321-8851 WA Rd:55432867069000364692188 55432867069000364G92188
     03/10                                    60.00-                                                   1,161.79 WithdrawalATM GREENVALLEY-S WY Terminal D: 99070 GREEN VALLEY AZ
                                                                                                                  Ref:000416 000416
     03/10                                                      2,623.42                               3,785.26 Deposit Ach AGRI TREAS 310 FED SAL JESUS A MALDONADO
     03/11                        '             3.23-                                                  3,782.03 Card purchase Amazon Video On Demand Terminal ID: 370000 440 Terry Ave N
                                                                                                                 AMZN.COM/bill WA Ref:55432867070000137983648 55432867070000137983648
     03/12 .                                  63.00-                                                   3,)19.03 Nithdrav\ia| Transfer To Loan 10 Eft Date 03/111 "
     03/12                                     19.52-                                                  3,699.51 Card purchase SAFEWAY FUEL 1771 Terminal ID: 17710065 SAHUARITA AZ
                                                                                                                  Ref:01993009 01993009
     03/1'2 -'                                  2.76- ·."                    ,                    .    3,696 75 ' Cad·pljrchase sAEEiNAY STORE 1771 Terminal
                                                                                                                                                    .. . .   ID: 17710047 SAHUARITA AZ                 ·.
                                                                                                                 Ref:01979598 01979598                                                .,
     03/13                                      5.39-                                                  3,691.36 Card purchase Amazon Video On Demand Terminal ID: 244000 440 Terry Ave N
                                                                                                                 AMZN.COM/bill WA Ref:55432867071000125079374 55432867071000125079374
     91/13                            ·       32.00- ." ' .'"                                          3,659.36 Card purchase TWO GIRLS PIZZA Termindl ID: 332000 1570 W DUVAL MINE RD

     03/13                                ' 48.88-                                                        ,   . Card
                                                                                                       3,610.48  GREEN  VALLEY
                                                                                                                     purchase  AZ Ref:05314617072000280626106
                                                                                                                              SAFEWAY   FUEL 1771 Terminal ID:Q531A61707.2000?80626106
                                                                                                                                                               17710067 SAHUARITA AZ                   .. .
                                                                                                                 Ref:01035042 01035042
     9J/13           ,.                         6.69-                    ,                             3,603.79 Card purchase SAFEWAY FUEL U71 Terminal ID: 17710067 SAHUARITA AZ                  ,

     ?     .     -

     03/13                                100.00- .                                                     . ,
                                                                                                       3,503.79  Ref:01035058
                                                                                                                Withdrawal Bill 01035058    '
                                                                                                                                payment COX COMM
     03/1J                        1,400.0(J'                '            .                             Z:i03:)'9 ,Withdrawai"€'iii payment DITECFI finANcIAl
                                                                                                                                                   '                      , . ....
     03/13                                 2(1.00-                               .        2,083.79 Withdrawal Bill paymen"t SOUTHWEST GAS '
     03/11                                 20.0+ -                             -     .   2,063.79 Witlidrawai Bill payment T©ON AZ UTILIT
     03/13                                 50.00-                                         2,013.79 Withdrawal Bill payment COMMUNITY WATER
     03/13                                 so.oo- - '                        '     "   , 'i,g63j9" 'Withdh\Nal'Bi|| 8aYment Yerizon WIRELESS , ':
     03/13                                30'0.00-                                        1,663.79 Withdrawal Bill payment ROSE STRONG
     03/13                                 45.00-'                               -        1,618.79 Withdravyal Bill payment FARMERS NEW WORL
     03/13                                 45.00-                                         1,573.79 Withdrawal Bill payment FARMERS NEW WORt.
     OJ/13                                112.63                               ,          1,441.16 Card purchase WM SUPERCENTER. # Terminal ID: 14110048 Wal-Mart Super Center
                                                                                                 "- SAHUARITA AZ NE045395 OQ5395        .  .                                   '
     03/15                                    22.72-                                      1,418.44 Withdrawal Bill payment AMAZON.COM Terminal ID: 00000101 SEATTLE WA
                                                                                                                 Ref:XIUEFPCBWLPL XIUEFPCBWLPL
     03/15                                    iZ.:'O-                                                  1,405.74 Card pUrchase lucky wishbone 8 Terminal ID: 249000 1465 W SILVERLAKE RD'.

                                                                                                  '             TUCSQN AZ ReE25247807073Q91627218215 25247807073001627218?15
%    03/15                                    59.44-                                                   1,346.30 Withdrawal Bill payment'AMAZON.COM Terminal ID: 00000101 SEATTLE WA
8                                                                                                                Ref:IONYCZ6X5E5K IONYCZ6X5E5K
S    03/15                            .       11.24 "                                                  1,335.06 Card" purcliae AMAzon.Com Terminal id: 00000100 seattle wa

8       .                                                                                                   -    Ref:RZM74Fp4LoQ8 rzm74fp4Loq8 .      '
!    03/16                                    20.38- "                                                 1,314.68 Cdrd purchase gAFavAY FUEL 1771 Terminal ID: 17710067 SAHUARITA AZ             "              '

U,
g    03/17                        . , 40.00-                    ""               .            ·                  Ref:01036002
                                                                                                       1,274.68 Check         01036002
                                                                                                                       #3007 Tracer 7274274¢)   , .
S    03/1)                             61.18-                                                 "        1,213.50 Card purchase WM SUPERCENTER # Terminal ID: 14110001 Wal-Mart Super CentQ
R                                                                                                                SAHUARITA AZ Ref:493387 493387
     03/19                            .343.QO-                      "'           '. '. ""               870.50 Withdrawal Transfer To Lpan 20 EfL Date'a/i8, ..         ",   ".   ,     . ..



                 Case 4:17-bk-04540-SHG                                                                     Doc 14     Filed
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                                                                                                                                 r'iovf rmno   Entered 05/16/17 10:37:46              Desc
                                                                                                            Main Document                Page 9 of 15
                                                    jb CABRILLO                                                                                                                   Statement of Account
                                                                   "                      CREDIT UNION                                                                            Member Number xxxxxxx979
                                   P.O. Box 261169 · San Diego,CA92196-1169                                                                                                        Statement For 03/01/2017 - 03/31/2017
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·
PosMg                Withdrawals                                           Deposits                              Balance Transaction Description
03/19                     103.22-                                                                                 767.28 Card purchase SAFEWAY STORE 1771 Terminal ID: 17710005 SAHUARITA AZ
                                                                                                                              Ref:01445280 01445280
¢/.20                         , ,-3"0.OO- .                                      " "" '                  '"       732.28 Cdrd Nrchak amigos BtRgERS & qEER Termiiid"IDi'·g405 G37Z S'N¢JGALES""' ': }
                                                S         '"           "
                                                                                                       . - . 'HIGHWAY TygoN AZ Ref:553l020z07820740'5g00588 s53102050moz4059005N.:. , :
03/20                                 32.82-                                                             "
                                                                                                       704.46 Card purchase JERRY BOBS TerminalID: 3h6 1325 W duval Mine R[j¢ig "Green
                                                                                                              VALLEY AZ Ref:55480777078206716900853 55480777078206716900853
03/20                "                23.04-"                          "                 . '-'.""""." 681:42 .Old pUrchase $aEE¶AY Eu"el lm"Teniihal'ID: in'10065 sahuarita'az .' ,-' ."·
                                                                                                                                                                                            ''   '   ,   ,   "·'   -       '.         :'      r
            .                 ..         .
                                                               .. ' , '                   , .... R . - .' , ', " ',' Ref!9,l9ggZQ %Qlggs12ij .' . .' '"' " ' " " "' ' ' "": j;. ' ',,', . .. "..;··: .,..,";'
03/20                               141.30-                       "                                 ' 540.12 Card purchase WM SUPERCENTER # TerminalID: 14110005 Wal-Mart Super Center
                                                                                                                              SAHUARITA AZ Ref:754433 754433
(b/20                . -' 1'4:0?:" . "                                           "            . .' ' .. 52"6 05. -card"b{jrchase sAeeXvay sTeRE ihi Teimjo.ai Id:-"17710q3'3 sahuarita 'az':'-'":!·?-'·
.,. '. "'   ·' , ;                    ' : .·· .- ,...,. ., ,. , .,                                       ... ' '":.. ".' ·, : RefjQi023m"01i0237n" ,-:' {'i"' ';'7 '"·" -' ':."'"y '.:" ?"' " " r; ,:'·" ':'""' "" "' .. "i'." "" ':. .';1'. ;':" :"i
03j24                              " '22.'84-"                                                                  "'503.21 Orii purcfiase Rijij'Ys coUNfRY store 'BB Termina ID. 344000 7300'W                                                                                                       "°'"'"""'
                                                                                                                              CHANDLER BLVD CHANDLER AZ Ref:05436847083500077100101                                                                                     "
                                                                                                                              05436847083500077100101
om4                  ""             ·99.26- :                                   , "'" , ,,-                     ""403.95 Card nrchaaw'ai-Mart Super Center Teninal ID:,i4|i9!)(ji"i@ii" W4l7sAmS.'".:' :i
                                                                                               -        " '. ' '. ..    "'. sAliUARITA AZ Ref:2Q83410320:42 708341039¥2 . . 2-A..: . ..- . .. . C . ;. ..St.; '. i
03/24                                   ziio-                  '                                                  401.95 Card purchase WM SUPERCENTER # Terminal ID: 14110049 Wal-Mart Super Center
                                                                                                                            SAHUARITA AZ Ref:082009 082009
03/24 '                  '"                  "' '-,                        1,64l.2j. --"2,043.18 'Deposit ACFi agn treas" 310'"FEb saL jESus AM"ALDoN'ADcj ' "'""' "'": -. ...,;,,: .;;;j;
03/25                                 11.62-                                                                    2,031.56 Card purchase MCDONALD'S F18544 Terminal ID: 54971307 9955 S PRIEST OR
                                                                                                                          TEMPE AZ Ref:293976 293976
93"/27· ., . "                          Mi- :                                    ·                 ,"          z02u5 Grd Ourchase TACO"BELL aizzis8 Terminal iD:"4j8R.'?ib"0"'E '"BAsEijNE""RD:"MEsA'
                                                4


                                                                                                        . ,.      .. .'. . AZ Ref:553z02Q7Q8qz006g8303.440 5531Q20Z0842006S8303*0 ,.. " ,, . . ..' ' " -· ·:, 4·
03/27.                                 6.58-                                                                    2,017.97 Card purchase JAMBA JUICE 416 TerminalID: 205000 2904 N CAMPBELL AVE
                                                                                                                            TUCSON AZ Ref:05436847085300064081549 05436847085300064081549
ij3/2i. ' .'.' - -"'24:qq:.                                         ' , ' .. . " '. ,:1;'9gj:49' drd purChase SAFEWAY EUEL lj,71 Tei!nih?|' ID:jilz2'i0060:-sAHUARm AZ ' "": ":'".j
                                                                                                                                                                                                                                                  \'   "

                                                         ,.: '                           '", '" ' '-,            ' ' ' . .' Ret:01843462 0193467    .'       ·                                                '"           '        .8 ·. .. ·" '               ·- .             . .. ..·          ''
03/17                '              107.84-                                                      "              1,885.65 Withdrawal Bill payment Allied Waste Ne
03/27           .                  . 50.OO- "                                                · "·               l,a3s:"65' :withdrawa-N| payr!%t Tljcs9N elECTriC: . · ..., ,, ..                                                             ·            ·"                      '"                   ' · ..' (

                                                                                                                                                                                                                                       . ..       ...·: ' "            ';.          '. .;.   . .-,. .. ""           ·
03/27                                35.00-                        ,                                            1,800.65 Withdrawal Bill payment FARMERS NEW WORL                                                          ...,            . ,, ,                            .                       ,,, .,,,
03/22                        ".." ;40.OQ: "'                                '                      .. ".i;2b"0.6S .With'drawd bill paynent"E"A"S!E"% N"EmisRL"".:,. . . "                                                                                     .:             ..               -'             . ,.
03/27                                35.43-                                                                     1,725.22 Card purchase WM SUPERCENTER # Terminal ID: 14110043 Wal-Mart Super Genter
                                                                                                                           SAHUARWA AZ Ref:028238 028238
01/27'          ."             :     46.87-" · '                                              ' "'              l,6z8.js Grd purchase"W'al'Mart Supef Centei Teijni'nal id: 14110043 i4ii WAli-SAMS- .'
                                                                                            '""    ·   -.   .. SAHUARITA AZ, Ref:708758328304 Z08758328M- "' . ...,-' -  -.  .,  '     ' .
03/28                               101.4Q-                                                        1,576.87 Card purchase INT*IN *ARIZONA NATURE Terminal ID: 331000 3025 N CAMPBELL
                                                                                                               #181 520-3219000 AZ Ref:55432867086000127422195 55432867086000127422195
03/28'                       '."' 16:47-                           '. ·              '" " .' "-- i,S66.4o ' caa' e"uraase miss siugON Tem·tinal Ibi"z8A6g390 1(1)2 N CAMPBELL AVE"       :
                                                                                           '.    tuCSON Az'Ref:75428177(j8g597i'0183311j '554ziih08.659h01gii13         "'':''
03/28                                24.82-                                            1, 535.58 Card purchase GOLDEN CORRAL 882 Terminal ID: 7GI26G4H 6385 S. MIDVALE PA
                                                                                                 TUCSON AZ Ref:25536067087104012470972 25536067087j04012470972
oj)'28 "                 .           42..90-                           ".      '\   .· 1,az58 check b3009 Tracer.9Z72Z8"30. '      "   " '"      ' ' "" '  . .' '-· <..      ".
                                                                                                                                          ..   ,, .
03/29                                10.55-                                            1,477.03 Card purchase AMAZON services-kinDle Terminal ID: 0000 440 TERRY AVE N
                                                                                                 866-216-1072 WA Ref:55310207088083087309879 55310207088083087309879
03/JO                    '                          '"                    430.00 "- 1,907..03 YposiEACH FSAREIMBURSEMENT PAYMENT'JESUS NLDONAD6' "'
03/30                              192.33-                                                                '1,714.70 Withdrawal ACH LIBERTY MUTUAL PAYMENT MALDONADO JESUS A
03/30 -.                       "    37:00; "                                                         . ". 1,677.70 Check #jij0Qyideer 77254g56. ..   -   '"   ,.    . "' "- "' '                                                                                                 '" '.          ' "" "
03/30                                15.00-                                                                    1,662.70 Card purchase CIRCLE K 00057 3602 N Terminal ID: 0100 TUCSON AZ
                                                                                                                         Ref:089010458235 0890K1458235

Summary by Check Number                                                                    * Asterisk next to number indicates skip in sequence                                                                                     4 Checks Cleared for $162.00
 Number                                      Amount                                  I               Number                        Amount              I         Number                          Amount                         I      Number           Amount
 ?· 390S                                       37.00 '                                                         30Q7 *            "' 'AQ,90. .'                    .' '3Q08                        3Z09                 '                 3009    ..       48.00'



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                                        jb CABRILLO                                                                                                  Statement of Account
                                     ' "CREDIT UNION                                                                                                 Member Number XXXXXXX979
                             P.O. Box 261169 · San Diego,CA92196-1169                                                                                  Statement For 03/01/2017 - 03/31/2017
                                                                                                                                                              Page4 of 4




       b       0         0    l     .    0        "       0     0         pQ       0                                                                                                Beginning Balance                        $8,148.34

     ANNUAL PERCENTAGE RATE 3.900                                                                                                                                                       1 Payments for                              -343.00
     Periodic Rate (Daily) 0.010685                                                                                                                                                     0 Advances for                                0.00
     Loan Interest YTD $81.48                                                                                                                                                           Ending Balance                       $7,829.72
     A payment of $343,00 is due on 04/18
                    Transaction                                            FINANCE
     pQstinq                 Amount                     Principal              CHARGE                   Balance Transaction Description
     03/19         ..        -3q3.,00        ·'       - .a.1,8,§?. .            - 24.38."             ,.7,8?9.72 Rayment Transfer Fp.m Share 80 "                                          '   "-       ' ',   ··      '              .       ..



       d       mmlm'4lj                               "       ° ·.J_Mm—                                                                                                             Beginning Balance                                $0.00
                                                                                                                                                                                        0 Payments for                                0.00
                                                                                                                                                                                        0 Advances for                                0.00

     Loan Interest YTD $0.00                                                                                                                                                            Ending Balance                               S0.00

      Interest Charge Calculation:
      The balance used to compute interest is the unpaid balance each day after payments and credits to that balance have been
      subtracted and any additions to the balance have been made.


      FEES

     PcMnq Transaction Descripzion                                                                                                                            Amount
     i.. :' ",. .TOTAL.EEESA)R TI9ISPERIQD: . J.;; ,                                   ·.   ... . :      "    : ,i       .'    . . -·.:. . · ,' .'. ·" . .O:OO,' .. , '..·.. .'W,                   -:, ,,,.    '.:'       .: . .         .' .'P
                                                                                                                                                                                                                                          "   V




      INTEREST CHARGED
     Postinq Transadon 'escrip"io"n                                                -                  -."""                                                    Amount               ·
     :' :. ...-.T9TAL INTEREsT'Epls:mIs EERIQP. :·' '··.- .'· ." .. '-"                              .  ,. . . ':,'....... :; - . ,... .. . .. '.. , .... ·. ' t,';
                                                                     - ::·' .-: ..'. .-, . : .' .": ,'Q.Q9·:.,
                                                                                                      2017 Totals Year-to-Date
                                                                               Total Fees Charged YTD                                                            S0.00
                                                                               Total Interest Paid YTD                                                           S0.00




                                                              in case of errors or QUESTlONSABOUT'TIIIR Ft FHIRnMlr TPfhL'FFPs

              Telephone orwrite us as soon as you gan, if you think yourstatement is wrong                                           We will investigate your complaint and will correct any error promptly. If we take
      or if you need more infonnatbn about a transfer on the statement. We must hear from                                     more than 10 business days to do this, we w If recredit your accountbrthe amount you
      you no later than 60 days after we sent you the first statement on which the error or                                   think is in error, so that you will have use of the money during the time it takes us to
      problem appeared,                                                                                                       complete our investigation.
            1.          Tell us your name and account number.                                                                        If you have arranged to have direct deposits made by Electron c Funds Transfer
            2.          Describe the error or the transfer you are unsure about, and explain as                      '        to your account at least once every 60 days from the same person or company, you can
                        cleady as you can why you believe then is an error orwhy you need more                                call us during normal business hours to find out whether or not the deposit is made.
                        information.                                                                                          Normally this will apply to members on direct deposit of Social Security or pensbn
            3.          Tell us the dollar amount of the suspected error,                                                     checks or allocations between different members accounts, where the payer has not
                                                                                                                              provided positive notice to yoij that the transfer was initiated.
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      Need help balancing your account? Visit vvww.cabrillocu.com to                                                                                                Your savings
8
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      download an account reconciliation form located in the Document
      Library. Or call a Member Services Representative at BOO-222-7455.
                                                                                                                                                                    are federally
                                                                                                                                                                      insured.                           NCUA
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                                           b CABRILLO                                                                        Statement of Account
                                       CREDIT LINJON                                                                         Member Number xxxxxxx979
                       P.O.BOx261169 · San Diego, CA92196-1169                                                                Statement For 04/01/2017 - 04/30/2017
                                                                                                                                      page1of 4

                RETURN SERVICE REQUESTED


               544004485        1                                1/4        UNQ        0S-01-17 SO                                  =o"fEcq:,id% E¶:&.if 'ip
               lI¶I|jjlI1IIl~Ih||'|IlIIIhdl|jn'l|||||"I|l|rl"|l
                                                                                                                                                                   .i«am   i'*                  "     ;C A.
               jesus Maldonado
                1058 W Camino Fijo                                                                                           299z 399z. ,=, .: ' "':"b;""'
               Sahuarita AZ 85629-8184

                                                                                                                             O Call 1.800.CABRI,LO k· ' .fit ,.' '2-
                                                                                                                             KNuuKxNp«)

                                                                                                                             lender               fbr details                             ~,


* APR = Annual Percentage Rate. On appmved cred it. A Home Equity Line of Credit (HELOC) is a loan on your home and the amount of the loan is determined by the equity
available. Rate is tied to Prime rate, as posted in the Wall Street Journal on the first day of each month. The first rate adjustment will take place 1/1/18. Rate mn adjust
monthly, but will never incTease or decrease by more than 2% per year and is limited to a maximum interest rate of 10'6 greater than the initial rate Minimum interest rate is
3.99%, Loan must be funded by 5/31/17 in order to obtain the introductory rate. Loan offers a 10-year draw period and a 15-year repayment. Balloon payment due on any
unpaid balance at maturity date. 80°6 LTV maximum. Property must be in California and be primary residence. please oonsult your tax advisor Or possible tax benefits. Rates
subject to change. Appraisal fees and dosing ODStS up to $650 will be waived with an in itial advance of at least $5,000 ($10,000 for a loan greater than $100,000) and an
outstanding balance of at least $3,000 for 1 year. If the loan balane falls below $3,000 during the first year, all previously waived fees will be added to the balane of the
loan. Cabrillo Credit Union reserves the right to discontinue the "No Fee" promotion at any time. NMLS 525546

 Your Account Balances as of 04/30                                                                               Your Loan Balances as of 04/30
 ID 00 Savings                                                                                $5.00              ID 20 2010 Kia Forte Koup Sx 60 Mo                                            $7,515.10
 ID 80 Advantage Checking                                                                    531.01              ID 39 Payroll Advance Loan (Pal)                                                   0.00
 Account Balance Total                                                                      $536.01              Loan Balance Total                                                            $7,515.10

                                                                                                                 Total Loan Interest Paid Year-To-Date                                          $109.86


_D J.g=g Bajane
                                                                                                                                                                                                      $5.00
                                                                                                                                                      0 Deposits for                                   0.00
                                                                                                                                                   0 Withdrawals for                                   0.00
                                                                                                                                                     Ending Balance                                   $5.00


   D :V         h 4.           .··                 ·                  0                                                                           Beginning Balance                            $1,662.70
                                                                                                                                                      2 Deposits for                            3,288.10
                                                                                                                                                  59 Withdrawals for                            -4,419.79
                                                                                                                                          '             Ending Balance                              $531.01
~ng             Withdrawafs                        Deposits                          Balance Transaction Description
04/01 " ," " .. 24.82- . -.. 2 " ,. '.                                         ' -1,637.88" Card purch&"'SAFEWAv FUEL',1771 TeMiina.l,ID: 17)10067 SAHUARITA AZ'   ,'                                                          :
                                                                          ,, ' "' "' " '   '.. Ref:01.040(j03 , 01Qg9003 :. ..-.' .. .                       . , .                                                      .
04/01                       16.49- '                                          1,621.39 Card purchase PANDA HOUSE Terminal ID: 923%003 18745 SI 19 FRONTAGE
                                                                                        GREEN VALLEY AZ Ref:55436877091130916132610 55436877091130916132610
04/01                      100.00- .                        '         , "" :" ,1:521 39 M/ithdiawa|"ATM ESTSD/KNK/CNT"G CENTE Termi!?a|"ID: 4499y TijcsoN Az " " . ,
                                           .                                            Ref:OQ220'Q'009200   "     .,
                                                                                                                    ·   C.

                                                                                                                                .   ·         '   ,.
                                                                                                                                                                                                        4           .




04/02                       19.95-                                            1,501.44 Card purchase SUPERCUTS Terminal ID 03702683 GREEN VALLEY AZ
                                                                                        Ref:040259017281 040259017281
Mlo3                        40.51- '                              .         " 1,460.93 Cdrd purchase"AMIGcjs B.URGERS & EjEER TenhinQl ID: 940S63Z2 S N¢jgALEs                                                  """

                                                       .        .. '          .' .-" ..' "    HIGHWAY tucSOn AZ Ref:55:u020709'220740530Q7.16 55310Z07092207q0530071fL .
04/03           '"      "    519-'             '                                1,455.54 ar"d purchase"AMAZON viDeo ON DEMAND TerminaiID: 0000 440 TERRY AVE N
                                                                                              866-216-1072 WA Ref:55310207092083143777873 55310207092083143777873
04/03                  "     8 G4-                     "                ? " " 1,446.90 cad purclihe Aihazon Digita"SvcsTernnal id: 248000 440 Terry Ave n               ' ",
                               , ... 7 I
                                                   '                  "      ."      .     . 8662mmyvARef:554328a092000832317q3s 5543?867092®083?317$35 .2                  .'
04/03           "" '        &'oi '                 "            ''           '1:380.89 Card purchase SprOUtS 'EARNRs MkTn3 Terminal ID: 97758001'4282 N ist" '
                                                                                         AVENUE TUCSON AZ Ref:772861 772861
04/03                      ,99.J5"                                         " ,1,281.54 Card purchase cO"srcp \NH"SE"#1079 'Te'rniinalID: 99107911 16S0 E TU(SON                                         "          .
                                                                                       .. m/\rket pl TUcsON' AZ 'Ref:52d423. 523423                                              ..   ,
                                                                                                                                                                                                                , '
                                                                                                                                                                                                                '        i.,




04/03            '          34.02-                     '"                    1:247:52" Car"i purchase"BEDBATH&B Si25 South"C TerminalID: (j01i2451I-1b d irviNG AZ
                                                                                       Ref:040317000062 040317000062
04/03 "                     91.39                                            1,156.13 (ard burchaSe WN SUPERCENTER # Hrininai ID: 14110047 wal-lyat Super Center
                                                                                                                                                                                                                               .
                                                                               ·        $Af!UaRitA & Ref:qi)3650 403650 ' . ' .~ ' -               -.   C
                                                                                                                                                                                                            .       V-




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                                                        '"CREDIT LINION                                                                                                Member Number xxxxxxx979
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 Posting          Withdrawals                                   Deposits                                                      Balance Transaction Description
 04/03                  55.00-                                                                                               1,101.13 Card purchase THE OLIVE GARD00016220 Terminal ID: 157 1213 W IRVINGTON
                                                                                                                                       rd tucson az Ref:15410197093140277620009 15410197093140277620009
 04/03'                             " 13.50:                                .               ,                                1,08Z63 Card purchase HARKINS TUCSON SPECTRU Terminal ID: 9010 5455 S CALLE
 '                          .             -                                         '                            ··            .· .   .SaNTa CruZ tucson az Ref:55310207093091104014763 55310?070930911¥014763 ·
 o4i03 "               '"             izZS-                     "'" "                           '                     "" '1,015.38 Card purchase"HARKINS'TLiCSON SPECTRU Terminal ID: 9010 5455 S CALLE
                                                                                                                                       santa cruz tucson az Ref:55310207093091104017634 55310207093091104017634
 04/04        "             -         i't.Z9-                               , , '-                                           1)061.09 Card purchase TAco'.Asfi INC. Terminal Id: 3249 4841 S 12TH A'i/E TUCSON AZ
                                                      ,. ' ·                                                                            Ref:55480m09420724g000393 55480777091q07249000393
 04/04                          '     14.04-                                    " "'                                         1,041.05 Card purchase GiG5 SCORTING GOODS 4 Terminal ID: 08717952 SAHUARITA AZ
                                                                                                                                        Ref:040451065374 040451065374
 04/04                                24.6+                 .,'"                    ..               '                       11022.41 Card purchase SAFEWAY FUEL 1771 Terminal ID: 17710068 SAHUARITA AZ
                                                                                                                                '      .Ref:0142z180 01417180. . .
 04/04                                10.95-                                         "                                       1,011.4G" Withdrawal Bill payment AMAZON.COM ferminal Ill: 00000101 SEATTLE WA
                                                                                                                                       Ref:F51S2LXGIUV2 f51s2lxgiuv2
 04/04" ,                             70.97z            .'.                                         ,                          940,"49 With'drawai Bill payment AMAZON.COM Teminal lb: 00000101 seattle WA '
                                                                            ,                                                   ,      Ref:RsoAw4RD9EHq   rsoaw4rd9eh4
 U/05                                 37.00-                                "'                                                 903.49 Card purchase LOS Agaves RESTAURANT Terminal id: 9943 1451 S LA CANADA
                                                                                                                                       or 14 green valley az Ref:55500367095200943900385 55500367095200943900385
 04/07                                ' 3.23-           .                                   "                                  900.26 cad 'Qurchase AMAZON VIDEO ON DEMAND Terminal ID: 0000 440 TERRY AVE N
                                                                                                                               '    . ' 866-216-1072 wa Ref:553l0207097083013583Z57 5531020)097083913583257
 04/07         "                                                 1AC.87                                                      2,547.13 Deposit ACH AGRI TREAS 310 FED SAL JESUS A MALDONADO
 Q'j/Q)       .                            6.18-            "     .' ',                                                      2,540.95 Card purchase MCDONALP'S F11418 Terininai ID: 86246006 470 W MARLPOSL\ RD

 04ja "                                    5.51-                        '           '                                           ..
                                                                                                                             2,535.44 nqgalEs
                                                                                                                                      Card    az .Ref:033195
                                                                                                                                           purchqse          .033!95
                                                                                                                                                    safeway fuel      ",..,,
                                                                                                                                                                 1771 Terminal ID: .17710067
                                                                                                                                                                                       , . '. ' SAHUARITA
                                                                                                                                                                                                  '        ,.
                                                                                                                                                                                                          az          .

                                                                                                                                        Ref:01043015 01043015
 94/10              '                      5.39-            '                                                                '2,530.05 Card purchase Amazon Video On Oemand Terminal ID: 362000 440 Terry Ave N
                                                                                                                                        AMZN.COM/bill WA Ref:5543286709900026333l304 554h8670990002633313u
 04/10                                56.21-                                                                             2,473.84 Card purchase BIG LOTS STORES Terminal ID: 76409002 18705 S I 19 FRONTAGE
                                                                                                                                    R GREEN VALLEY AZ Ref:009178 009178
 D4ii'q . .                 -         59.99- '                  ','                                      '            , Z4i3.85 Ca"rdbwchase BRAK"EMAX CAR CA'RE'Ter"mina| iD: ijQ755i8 18750' S:' NOGALES 64
                                                                                            '                                       . green valley AZ'Ref:000000000007 000000000007 .
 04/1(1                               29 oi.,               , '.                    "                        '               2,384.83 Card purchase Wa Mart Super Center Term nd ID. 14110071 1411 WAL SAMS
                                                                                                                                       sahuarita az Ref:71007100261! 710071002611
' O4/iO ,'                      .     7134-'                    · ·' -                                                       2,313.49 Card 'pUrChase WalAart Super Center Terminal ID: .14110048 i4ii WAL-SAMS " ' ,
                                             "'
                                             -?                                                                              .   ''    sAHUARrrA az Ref:21007876446G 7100787§±$66 "
 04/10                               100.00-                                                        "                        2,213.49 Withdrawal Bill' payment COX COMM
 04/io        .                 1;350.(10:"                     '                   '"                           '"            863.49 Withdrawal Bill payment DITECH FINANCIAL" .
 04/10                                20.0"0- '                             '"                                                 '843.49 Withdrawal Bill pyment sOuThwest GAS
 o4no " '                             2O.0O'                                'V                                   .              8Z3A9 Withdrawal Bili payji1gnt TucSq'n aZ utilit         .       "
 04/10                              20.00-                                                           ",                    803.49 Withdrawal Bill payment COMMUNITY WATER
 04/10                          " '50.00-                           .                                            ' ' ·' 753.49 Withdrawal Bill payment VERIZON"WI'rEleSS                              .   ..              ., ... ...
 04/10                              74.85-                                                                                 678.64 Withdrawal Bill pyment CCS SYSTEMS
 M/10                              300.00-,                                                                      .         178.64 Withdrawal Giti payliient' ROSE gRoNg. '"'                  .                           ,         .
 04/10                             ido.ii0                                                                              " Z7Q.64 Withdrawal Bill paymentNARYELLEN MALDON
 o4nz                           .     62AJ-                                                                              ·     216.64 ' W.it|idra!N.al iianNt TV Loah 10 EfE Dabe 04/11
 04/15             ''                      5.39-                    '                                                          211.25 Carcj purchase AMAZON VIDEO' ON DEMAND Terminal ID: 0000 440 TERRY AVE N
                                                                                                                                       866-216-1072 wa Ref:55310207105083033288408 55310207105083033288408
 04/17                  . '"               4.31-' . -                                                                          206.94 Card purchase-A'MAZON VIDEO ON Demand Terminal ID: 0000 440 TERRY AVE N
                                                                                                                               ."      ' 866'216-1072 wa Ref;5531020)106(j83143710910 55310207106083143710910 ' '
 U/19                           ' 206.94-                                                       "                                 0.00 Withdrawal Transfer To Loan 20 Eff. Date 04/18
 O4/Zi.            .                  '"          ' '"".. '1;641.23 "                                                        1,641·.23 Deposit ACFi AGRI TREAS'"310 FED SAL.JESUS a maldonado                                   '   C'




 04/22                               U6.06- "                       '                                                ,       1,505.17 Withdrawal Transfer To Loan 20 Eff. Date 04/21
 04RZ         ·         "             30,25 ", '                                '                   ''                   ' "1,474.92 Card jµirchase petco 2125 Terininal ID: 09245001 18785 S I-19 FRONTAGE R                   .

 04/23"            " " ., "52.11-
                              ·'                        '           '                   '           " ' "                      .  .
                                                                                                                              1,422.81  SAKuaritA
                                                                                                                                       card       AzSAFEWAY
                                                                                                                                            purchase Ref:878265 878265
                                                                                                                                                              FUEL     ' ..-
                                                                                                                                                                    1771     .
                                                                                                                                                                          Terminal  " 17710067 SAHUARITA AZ
                                                                                                                                                                                   ID:
                                                                                                                                        Ref:01045540 01045540

              Case 4:17-bk-04540-SHG                                                                                              Doc 14 Filed 05/15/17 Entered 05/16/17 10:37:46                              Desc
                                                                                                                                  Main Document    Page 13 of 15
                                                                                                    4b CABRILLO                                                                                                                                                     Statement of Account
                                                                      ' '"CREDIT LINION                                                                                                                                                                             Member Number xxxxxxx979
                                                             P.O. Box 261169 · San Diego, CA 92196-1169                                                                                                                                                              Statement For 04/01/2017 - 04/30/2017
                                                                                                                                                                                                                                                                            Page3 of4 ,




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    Posting "                              Withdrawals                                                                                Deposits                                            Balance Transaction Description

    04/23                          '                             . 94.03-                                                                 .' '                 " , " 1,328.78. 'Card puOase OREILLY AUTQ ¢3 Termiha.l IDi 02614302 "GREEN VALEEY'AZ - ' '

                          ,            ..                                                                                                                                 '" ' '                4 ,.: ,.'            Ref:71l3614y050'"7i1361434050,                           .     "" '..'                -" "         .'                '"      ' '                            '            '''
                                                                                                                                                                                                                                                                                                                                          . .   . .. ,...
    04/24                                                                14 70                                           '                                                                i,a14 08 O'rd" purchase CANDA hOusE Term"nal iD 92a460i)3" 18)'45 SI 19"PrOntage " ""
                                                                                                                                                                                                    green valley az Ref:55436877113131132233178 55436877113131132233178
    04/24 ,'".                                                           25.11'-                                                      '           .            ,             .            1,288.97 -Card pUrChase SAFE\MAY'F!J,EL i'ni TeiminQi Id:' i7Z100"6i SAKUARITA AZ ' ',..'"
                                                                                                                                                                              '" . " A. ". . Ref:018739S?. 01873959 ..., '... ...:. ' .: ," .' " ' " "' "' ' "     '""      '   '                                                                                                         ""           '
    04/24                                                        100.00-                                                                          '                    "' ' '1,188.9) Witkrawai Atm "gReEnvalley-s \nierdilia idi 99isE                    . g'reen
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                                                                                                                                                                                                 Ref:007103 007103
    04/24,                                                       136.34-                                         ,                        '·., '                                      "1,052.63 Card pUrchase wai-Mait super Center Terniihal'ID: 14"110044 i4i1 wal-sams . .,'
                                                                                                r
                                                                                                                                                                                                 .'   ' sah'uarita az Ref:71l4'54258654 711454,259"64" ' , .. '. .                                                                                   ..             .,.             ...   .




    04/25                                                        119.26-                                                                                                                       93aj7' Card purchase"COS'rCO wASe'"#1079 Termina"l ID': gg10791i 1G50 e tucson ' ""'
                                                                                                                                                                                                    market pl tucson az Ref:298520 298520
    04/25 '                                         '                        5.39-"".'                                                '                    ,. " '                         '"927.98' Card purdi'ase'Amazoh Video'"Oh Hmand Terriiihal-ID: 36S000 440 Terry Ave N ·· ,'

                                                                          ....                                                                                                        "    '        , ·'AMzN.c(iM/t)i!| wa Ref:55q32s6711s90Qs.z188546g 5a32867115000871885469 .                                                                                                                ' ."
    04/26                                                            41.08                                                                '                '                      '            Q86.90 Card purchase V\ia|-Mart Super Center Termi'nal ID: 14110043 1411 NAL-SAMS
                                                                                                                                                                                                    sahuarita az Ref:711725279898 711725279898
    04/26                                                                    8.00' -' :."                                                         ,                    .,. ,              -878:90' ard"p.urchase wm SUPERCENTER # Teihiinai ID.: 14iHN3 V\ia|-Mait.Super cerNer
                                                                                   ,                         .                                                                                                                                                  -. · '·' ".' ': ' . ·: .'
    04/27                                                        114.59-                                                                      "                    " N"                   %  '''
                                                                                                                                                                                          " 764.31  sAHUARIjrA
                                                                                                                                                                                                   cdm purchase az
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                                                                                                                                                                                                                   Qike HUg Terminal·- ID: ,,- .. r..
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                                                                                                                                                                                                                                                                      DE LAS T GREEN
                                                                                                                                                                            valley az Ref:55436877116281168258602 55436877116281168258602
 04j27 '                                    '""'                     98.17; ',. .                                                                       ", ','. .' "66G.14 Card purchase green valley MVD TerriiiriQt ·jD:"'i'981.60i N LACANADA.DR "" · · "
                                                                                                                     ;            '


 .                                                                                                                                                                           '.           '"" ' . .. ~"Green
                                                                                                                                                                                                       ,     valLEy az Ref:55310207i.1220G981tO103. 55310iQZli7Zw98n00l03' .· . -. .
 04/27                                                               72.'36-                                         ''                                                        "           593.78 Card     purchase INT*IN *ARIzOi\|A NATURE Terminai ID: 212000 3"025 N CAMPBELL
                                                                                                                                                                                                   #181 520-3219000 az Ref:55432867116000633878819 554328671160®633878819
 04/Z"7                                                              11:§0-                                      "'                                   '"               """                 559.& 'Cdrd pukhase Safeway STORE 1771 Term'iia ID|'"mio®7"sAKUARITA AZ " " "
           . . S.'                                                                                                                                . ,.                    .. .                 .,       ""' Ref:01299886. 01299886. . -..,,.                    .            ,.,
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04/28                                                       '" 2i4'Q-                                                             -                                '                      "536.40 Ord purchase sAfewAy FUEL 10017713 TerminalID; 063 "1305 \ii/ duval mine "
                                                                                                                                                                                         road sahuarita az Ref:15410197118232018998710 15410197118232018998710
04/29                                            '.                      5.39-                                   "                                      "                ', "" 531.01 "Grd purchase AMAZON 'VIbEO o'N'D'EM'AN"D.Techihal""ID:"2'00.'«"'TERRY AVE.N'
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C
      ..                                        .                .                                                                                                                                                                                W                                                                                                           '..         '. q ··
                     ..       ..                .       .            .   .             ..                .        ..         ..
                                                                                                                                                                        . ·.: . -..:                   ' . ..866·?16.-1022 wa Refss3,1Q207l199.83Q2g23.ls75 55?iO'9.?|190i302323l875                                                                                         .                ..,..4


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 D            0                                 0            D                 .                    0                    "                    0         v                                                                                                                                                                                                     $7,829.72

ANNUAL PERCENTAGE RATE 3.900                                                                                                                                                                                                                                                                        2 Payments for                                                    -343.00
Periodic Rate (Daily) 0.010685                                                                                                                                                                                                                                                                      0 Advances for                                                                        0.00
Loan Interest YTD $109.86                                                                                                                                                                                                                                                                          Ending Balance                                             $7,515.10
a payment of $343.00 is due on 05/18
                                       Transaction                                                                                                                                    FINANCE
Postinq                                                     Amount                                                                    Principal     CHARGE                                                                      Balance Transaction Description
04/19 -.                                                    -206.94 -                                                                  -181.01.' ."' .. 25.93                                                                  2,648.71 .Paymertt Transfer F[di'f} share 80 ·'-                                   »'.        .                  ··        '           '. : j·.;
04/22                                                       -136.06                                                                       -133.61                                                   "2.45                 "7,515.10 Payment Tran&er From Share e0                                      "     '



     Di     Qb                         p                     6                a             a        ,                            "               0 ,                        op
                                            0
                                                                                                                                                                             LJjljv
                                                                                                                                                                                                                                                                                              Beginning Balance                                                                $0.00
                                                                                                                                                                                                                                                                                                   0 Payments for                                                                         0.00
                                                                                                                                                                                                                                                                                                  0 Advances for                                                               0.00
Loan Interest YTD $0.00                                                                                                                                                                                                                                                                           Endinq Balance                                                              S0.00

 Interest Charge Calculation:
 The balance used to compute interest is the unpaid balance each day after payments and credits to that balance have been
 subtracted and any additions to the balance have been made.


 FEES

Postinq Transac"ion jescripqon                                                                                                                                                                                                                                          Amount.
:' -.. TOTAL EEES HDR THIS PERIOD' ... . .:'..                                                                                                                                                              ,   .:    ' ' "'          .' ., ..i   . .' .   '.       '    .:,0,00. ... ".:' ., .'. .. .'. ." .· .                     .',-: .'        :.,- .., , ."' ;...1



                                   Case 4:17-bk-04540-SHG                                                                                                                                             Doc 14 Filed 05/15/17 Entered 05/16/17 10:37:46                                                                                            Desc
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                          " Dcabrillo                                                                                  Statement of Account
                                 """CREDIT LINION                                                                      Member Number xxxxxxx979
                         P.O.Box261l69 · San Diego, CA92196-1169                                                        Statement For 04/01/2017 - 04/30/2017
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                                                                                                                                           Continued from previous page.
     INTEREST CHARGED
     Posting TransacHon Descrip-ion                                                                                          Amount
            TOTAL INTERFST,FOR THIS PERIQD.'. :;' ' t·'j.                               '   ·r
                                                                                                 "'          "    "     ". :." 0.00 ',·-' .7                 '     '" ' " :'   ?"
                                                                                                                                                                                     . .. "    "

                                                                             2017 Totals Year-to-Date
                                                           Total Fees Charged YTD                                              S0.00
                                                           Total Interest Paid YTD                                             S0.00




                                              IN CASE OF ERRORS OR QUESTIONS ABOUT YMIR Fl FPTPMIC TRAM"FFR.C

            Telephone orwrite us as soon as you can, if you think your statement is wrong                    VIle will investigate yourcomplaint and will correct any error promptly. If we take
     or if you need more information about a transfer on the statement. We must hearfrom              more than 10 business days to do this, we will recredit your account for the amount you
     you no later than 60 days afterwe sent you the first statement on which the error or             think is in emr, so that you will have use of the money during the time it takes us to
     problem appeared,                                                                                complete our investigation.
             1.   Tell us your name and aeount number.                                                       If you have arranged to have direct deposits made by Electmnic Funds Transfer
             2.   Describe the error or the transfer you an unsure about, and explain as              Eq your account at least once evety 60 days from the same person or company, you can
                  clearly as you can why you believethere is an emr orwhy you need more               call us during normal business hours to find out whether or not the deposit is made.
                  information.                                                                        Normally this will apply to members on direct deposit of Social Secuhty or pension
            3.    Tell us the dollar amount of the suspected error.                                   checks or allocations between diGerent members accounts, where the payer has not
                                                                                                      provided positive notice to you that the transfer was initiated.



      Need help balancing your account? Visit \/vww.cabri||ocu.com to                                                            Your savings                M~llmmyem~mU~~0mumm


      download an account reconciliation form located in the·Document
      Library. Or call a Member Services Representative at BOO-222-7455.
                                                                                                                                 are federally
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